WILL T. CASWELL, PETITIONER, ET AL., 1v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  Caswell v. CommissionerDocket Nos. 82331, 82332, 82333, 82334, 82335, 82336, 82337, 82338, 82339, 82340, 82341, 82342, 82343, 82344.United States Board of Tax Appeals36 B.T.A. 816; 1937 BTA LEXIS 651; November 4, 1937, Promulgated *651  1.  DISSOLVED CORPORATIONS - TAXATION OF PROFIT FROM SALE OF ASSETS. - Where corporations are dissolved but their existence is continued for a period of three years after dissolution for the purpose of settling up their affairs, and during such period the assets are sold by the trustees in dissolution, held, the profit derived therefrom is taxable to the corporations.  2.  LIMITATIONS - TRANSFEREES. - On the facts, held that assessment and collection of the liabilities of the petitioners as transferees are not barred by limitations.  R. C. Fulbright, Esq., for the petitioners.  E. A. Tonjes, Esq., for the respondent.  HILL *816  These are consolidated proceedings for the redetermination of the liabilities of the petitioners as transferees of certain corporations, under the provisions of section 311 of the Revenue Act of 1928, for the payment of income taxes alleged to be due from the transferor corporation for the fiscal year ended April 30, 1928.  The names of the corporations and the amount of the liability of each petitioner, as determined by the respondent, are set forth in the findings of fact hereinbelow.  The issues presented for*652  decision are (1) whether respondent erred in "asserting or assessing additional income taxes" against the transferor corporations by reason of alleged profits derived from the sale of the assets after the corporations had been dissolved; and (2) whether assessment and collection of the liabilities of petitioners as transferees are barred by limitations.  Substantially all the material facts were stipulated by the parties.  FINDINGS OF FACT.  The petitioners were stockholders or represent persons who were stockholders in the San Marcos Compress Co., the Elgin Compress *817  Co., and the Capital Compress Co., corporations organized and existing under the laws of the State of Texas.  The Capital Compress Co. operated a compress in Austin, Texas; the Elgin Compress Co. operated a compress at Elgin, Texas; and the San Marcos Compress Co. operated a compress at San Marcos, Texas.  The corporations in question will be referred to collectively herein as corporations or as "Capital Co.", "Elgin Co.", and "San Marcos Co.", respectively.  The Elgin Co. had an outstanding capital stock of 500 shares of the par value of $100 per share, which was, at all times material herein, shown*653  on its books to be held as follows: SharesC. J. Von Rosenberg125W. T. Caswell125D. T. Iglehart estate125E. H. Perry62 1/2M. H. Reed62 1/2The San Marcos Co. had an outstanding capital stock of 700 shares of a par value of $100 per share, which was, at all times material herein, shown on its books to be held as follows: SharesM. H. Reed140E. H. Perry140D. T. Iglehart estate140W. T. Caswell280The Capital Co. had an outstanding capital stock of 1,250 shares of the par value of $100 per share, which was, at all times material herein, shown on its books to be held as follows: SharesD. T. Iglehart estate170E. J. Byrne170E. H. Perry180W. T. Caswell425M. H. Reed190The remaining 115 shares, constituting about 11 percent, were owned in scattered small amounts among ten stockholders, none of whom are parties to these proceedings.  On or about October 15, 1927, income tax returns were filed on behalf of each corporation as final returns for the taxable period May 1 to July 30, 1927, July 31 being Sunday, and taxes shown to be due by the returns so filed were paid. *654  No income tax returns for the fiscal year beginning May 1, 1927, and ended April 30, 1928, were filed by the San Marcos Compress Co., the Elgin Compress Co., or the Capital Compress Co., or by the trustees on behalf of the corporations.  The corporations at all times material herein kept their books and accounts on a cash receipts basis, and for all taxable periods prior to the period commencing May 1, 1927, made their income tax returns upon the basis of a fiscal year ending with the close of April.  *818  The properties of the corporations were transferred to the Aransas Compress Co., a Texas corporation, in September, 1927, hereinafter more specifically set forth, and the profits, if any, resulting from the transaction were not included in the returns filed by the corporations for the period May 1 to July 30, 1927, nor have such profits, if any, ever been reported in any income tax return filed by any of the corporations.  Under date of March 20, 1929, W. L. McBride, internal revenue agent in charge of the Dallas division, in which the corporations were located, addressed a letter to each of the corporations proposing to recommend the assertion of an additional income*655  tax liability for each of such corporations for the period ended February 29, 1928, and attached to each such letter a copy of the report made by examining officer H. J. H. Melin, based upon the examination by that officer of the books, records, and accounts of the corporations and the liquidating trustees of each, and proposing additional tax liability as follows: San Marcos Co$6,267.07Elgin Co1,589.64Capital Co8,526.54Under date of October 24, 1929, W. L. McBride, internal revenue agent in charge, addressed a communication to the representative of the taxpayers in the case of each of the corporations, recommending that the agent's report with respect to each be sustained.  A copy of the report of the examining officer with respect to each of the corporations, together with a conference memorandum prepared in connection with the conference held on September 16, 1929, and referred to in the communication dated October 24, 1929, was forwarded to the Commissioner at Washington (respondent herein) for such action as the Commissioner should consider proper with respect to the same.  On April 12, 1930, respondent made jeopardy assessments against each of*656  the corporations covering the period May 1 to July 30, 1927, on the basis of including in gross income for such period profit derived from the sale of the corporate assets subsequent to July 30, 1927.  On April 28, 1930, notices of deficiency were mailed by the respondent, addressed to each of the above named corporations in the respective amounts theretofore assessed on April 12, 1930.  Petitions were filed with the United States Board of Tax Appeals praying for a redetermination of the assessed deficiencies.  These petitions bear the Board's docket numbers 49303, 49302, and 49304.  Thereafter such proceedings were had that the Board on October 11, 1934, promulgated its opinion (), which is incorporated herein by reference, and on October 15, 1934, ordered and decided *819  that there is no deficiency for the period May 1 to July 30, 1927, due from the petitioners in such proceedings. On May 17, 1934, deficiency notices addressed to each of the corporations were mailed by respondent, determining deficiencies against the corporations for the fiscal year ended April 30, 1928.  No petitions for a redetermination of the proposed deficiencies having*657  been filed with this Board, the amounts proposed were assessed on September 7, 1934.  No part of such assessments has been paid and the entire amounts, together with the interest thereon, are still outstanding and unpaid.  On May 17, 1934, respondent mailed deficiency notices addressed to each of the corporations determining deficiencies against each of them for the fiscal year ended July 31, 1928.  No petitions for a redetermination of the proposed deficiencies having been filed with this Board, the amounts proposed were assessed on September 7, 1934.  No part of such assessments has been paid and the entire amounts, together with interest thereon, are still outstanding and unpaid.  On September 6, 1935, notices of transferee liability were mailed to petitioners in these proceedings as transferees of the corporations, determining liabilities as follows: PetitionerDocket No.DeficiencyWill T. Caswell (Capital Co.)82331$8,368.50Will T. Caswell (Elgin Co.)823321,549.19Will T. Caswell (San Marcos Co.)823336,172.11Malcolm H. Reed (Capital Co.)823348,368.50Malcolm H. Reed (Elgin Co.)823351,549.19Malcolm H. Reed (San Marcos Co.)823366,172.11Edgar H. Perry (San Marcos Co.)823376,172.11Edgar H. Perry (Elgin Co.)823381,549.19Edgar H. Perry (Capital Co.)823398,368.50(Elgin Co.)823401,549.19Estate of D. T. Iglehart (San Marcos Co.)823416,172.11(Capital Co.)823428,368.50Thos. J. Byrne,Executor of Estate of E. J. Byrne (Capital Co.)823438,368.50Guardian Trust Co., Independent Executor of estate of C. J. Von Rosenberg (Elgin Co.)823441,549.19*658  On or about July 30, 1927, documents were filed with the Secretary of State of the State of Texas, certifying that the consent of all the stockholders of the San Marcos Co., the Elgin Co., and the Capital Co. to the dissolution of those companies was the true and correct action of all such stockholders.  On or about July 30, 1927, the Secretary of State of the State of Texas issued three documents reciting that agreements and consents in writing of all the stockholders of the corporations referred to therein had been filed, consenting and agreeing that the corporations be dissolved, and by reason of such action of the stockholders it was certified that the corporations were dissolved.  *820  On or about August 17, 1927, W. T. Caswell, E. H. Perry, and D. C. Reed, as trustees, entered into a contract for the sale of the properties of the corporations to the Aransas Co. and thereafter all of the assets of the San Marcos Co., the Elgin Co., and the Capital Co. were transferred to the Aransas Compress Co., and in return therefor and as consideration for the transfer of such properties transferred by the corporations to the Aransas Compress Co. the sum of $50,000 in cash, $84,000*659  in capital stock of the Aransas Compress Co., and $111,000 in promissory notes of the Aransas Compress Co. were paid to the San Marcos Co., the Elgin Co., and the Capital Co.  At the time of the dissolution of the corporations on July 30, 1927, W. T. Caswell, who was the same individual as Will T. Caswell, petitioner herein; E. H. Perry, who was the same individual as Edgar H. Perry, petitioner herein; and D. C. Reed were directors of the corporations.  Prior to his death on May 31, 1927, D. T. Iglehart also had been a director of the corporations.  The deed transferring to the purchaser the properties of each corporation was executed in the name of such corporation, by its president, and also by the three directors and trustees.  The promissory notes received as above stated were converted into cash and such cash, plus the $50,000 above referred to, and the above referred to $84,000 in capital stock of the Aransas Compress Co., were distributed to the stockholders of the Capital Co., the Elgin Co., and the San Marcos Co. as shown in the following tabulation: Amounts Distributed to Petitioners or Their Representatives as Their Separate Property from the ProceedsResulting from the Disposition of the Properties of the Corporations.Elgin Co.San Marcos Co.Capital Co.M. H. Reed$3,125$7,000$9,500W. T. Caswell6,25014,00021,250E. H. Perry3,1257,0009,000D. T. Iglehart estate6,25010,15014,500C. J. Von Rosenberg6,250NoneNoneThos. J. ByrneNoneNone17,000*660  The total amount of distributions accruing to each stockholder of record was the same as the par value of the stock of each in the respective corporations, but all of the stock held in the names of M. H. Reed, W. T. Caswell, E. H. Perry, and C. J. Von Rosenberg was the community property of such stockholders and their respective wives, and one-half of the distribution to each accrued to the wife of each, against whom no transferee liabilities have as yet been determined.  In the case of the D. T. Iglehart estate all of the stock in the Elgin Co. was community property of D. T. Iglehart and his surviving widow, Mattie B. Iglehart, and 77 shares of the stock in *821  the San Marcos Co. were their community property, while the remaining 63 shares of the San Marcos Co. were the separate property of D. T. Iglehart.  Fifty shares of the D. T. Iglehart stock in the Capital Co. were community property, while the remaining 120 shares were the separate property of D. T. Iglehart.  In making the distributions the stock of the Aransas Compress Co. given in exchange for the properties theretofore owned by the corporations, amounting to 840 shares of the par value of $100 per share, was*661  taken as the equivalent of cash, equal to the par value of the stock, and had a fair market value at such time of par.  This stock was distributed as follows: M. H. Reed, 390 shares, par value$39,000Estate of D. T. Iglehart, 250 shares, par value25,000W. T. Caswell, 200 shares, par value20,000In September 1927 and shortly thereafter, within a period of the next three or four months, all of the proceeds from the disposition of the properties were distributed to the stockholders, and thereafter the corporations were entirely without properties or assets of any description.  No waivers of the statutes of limitations have been executed by any of the corporations or by any of the petitioners herein.  No suit or proceeding in court has been begun by respondent to collect any part of the taxes claimed or assessed, as hereinabove set forth.  OPINION.  HILL: Petitioners, as stockholders, admittedly received assets of the Elgin Compress Co., the San Marcos Compress Co., and the Capital Compress Co. in excess of the transferee liability determined against them respectively by respondent.  So much has been stipulated by the parties.  But petitioners assert*662  that they are not liable as transferees, (1) because no additional tax is due from the corporations, and (2) if any additional tax is so due, assessment and collection of their liabilities as transferees are barred by limitations.  Article 1388 of Vernon's Annotated Texas Statutes (Civil) provides that upon the dissolution of a corporation, unless a receiver is appointed by some court of competent jurisdiction, the president and directors or managers of the affairs of the corporation at the time of its dissolution shall be trustees of the creditors and stockholders of such corporation, with power to settle the affairs, collect the outstanding debts, and divide the moneys and other property among the stockholders, after paying the debts due and owing by the corporation at the time of its dissolution.  And for this purpose it is provided that the trustees may in the name of such corporation*822  sell, convey, and transfer all real and personal property belonging to the corporation, collect all debts, compromise controversies, maintain and defend judicial proceedings, and exercise full power and authority of the corporation over such assets and property.  Article 1389 of*663  the same statutes provides that the existence of every corporation may be continued for three years after its dissolution from whatever cause, for the purpose of enabling those charged with the duty to settle up its affairs, except that, where a receiver is appointed by a court for this purpose, the existence of the corporation may be continued by the court so long as in its discretion it is necessary suitably to settle the affairs of the corporation.  The corporations here involved were voluntarily dissolved in accordance with the Texas law on July 30, 1927, and thereupon the president and directors assumed charge of the assets and affairs of the corporations as trustees in dissolution.  On August 17, 1927, the trustees entered into a contract for the sale of the properties of the corporations, and in the following month the assets were transferred to the vendee.  Shortly thereafter the proceeds were distributed among the stockholders.  Petitioners contend that no additional tax is due from the corporations on account of the profit, if any, derived from the sale of the assets subsequent to the dissolution of the corporations; that upon dissolution on July 30, 1927, the legal title*664  to all property belonging to the corporations immediately vested by operation of law in the liquidating trustees, who were trustees for the creditors and stockholders, and that any profit derived from the sale thereafter in September was not the profit of the corporations and hence not taxable to them.  No additional tax being due from the corporation, petitioners say they are not liable as transferees.  Petitioners' contentions on this point, we think, can not be sustained.  While it is true that the trustees in dissolution were trustees for the creditors and stockholders, it does not follow that they were not also trustees for the corporations and acting in their behalf when they disposed of the corporate assets.  The stockholders were the ultimate beneficiaries, after payment of claims of creditors, and in that sense the trustees were acting in a fiduciary capacity for the benefit of the creditors and stockholders.  In the same sense, it is often said that the officers and directors of a corporation are trustees for its creditors and stockholders, but nevertheless they manage and direct the affairs of the corporation prior to dissolution, and their acts are the acts of the corporation. *665  In the instant case the record clearly shows that the liquidating trustees were not only authorized to, but in effect did, directly represent and act in behalf of the corporations in many matters.  They were specifically authorized by the statute (1) in the names of the*823 corporations to sell, convey and transfer all properties belonging to them, both real and personal; (2) in the names of the corporations to collect all debts, compromise controversies, maintain and defend judicial proceedings, and exercise full power and authority of the corporations over their assets and properties.  These things the trustees did, and in doing so, they were acting for and in behalf of the corporations.  The parties have stipulated that the assets of the corporations were transferred by the corporations to the Aransas Compress Co. and in return therefor the stated consideration was "paid to the San Marcos Company, the Elgin Company and the Capital Company." The stipulation further recites that "shortly thereafter, within a period of the next three or four months, all of the proceeds from the disposition of the properties were distributed to the stockholders, and*666  thereafter the corporations were entirely without properties or assets of any description." There being no evidence to contradict the stipulation, we must accept it as correctly stating the facts, and under those facts we can not hold, as petitioners seek to have us do, that the transferred properties belonged to the stockholders at the time of sale, and that they derived the profits resulting therefrom.  As we said in , involving Texas corporations: Each petitioner [corporation] conveyed title to the assets sold to the vendees; that was the sale (Cf. ), the transaction producing the asserted gain.  The assets of these petitioners [the corporations] were not distributed to or conveyed by their stockholders.  The stockholders could cause the conveyance to be made, but they could not make the conveyance.  Furthermore, there was no liquidation of either petitioner and we can not ignore the formal corporate acts in making the conveyances, even although the consideration for the conveyance was distributed directly to the petitioners' stockholders. *667  Cf. . But aside from the plainly worded stipulation of the parties above referred to, we can not sustain the contentions of the petitioners that, upon dissolution of the corporations, legal title to their assets vested in the trustees by operation of law, and that any profit realized from the subsequent sale is taxable to the stockholders.  In , we said: It is well established that the mere dissolution of a corporation does not effect a distribution of its assets among its stockholders, and furthermore that such a distribution is not effected by the turning over of the assets of the corporation to trustees in liquidation who may also be stockholders of the corporation.  * * * Until the stockholders actually receive the assets or the proceeds resulting from the sale thereof, there is no receipt by them.  [Citing The Smith case involved a corporation of the State of Washington, but the Washington statutes relating to the dissolution of corporations are substantially the same as the Texas statutes, and the*668  same rule has been applied in the case of Texas corporations.  *824  Article 71 of respondent's Regulations 74, issued under the Revenue Act of 1928, applicable here, reads in material part as follows: Gross Income of Corporation in Liquidation. - When a corporation is dissolved, its affairs are usually wound up by a receiver or trustees in dissolution.  The corporate existence is continued for the purpose of liquidating the assets and paying the debts, and such receiver or trustees stand in the stead of the corporation for such purpose.  * * * Any sales of property by them are to be treated as if made by the corporation for the purpose of ascertaining the gain or loss.  * * * The same provisions have been embodied in the regulations issued under all other revenue acts from 1918 to 1936, both inclusive.  See art. 547, Regulations 45, 1918 Act; art. 22(a)-21, Regulations 94, 1936 Act.  This regulation has been specifically approved, and the rule announced therein applied, in the following cases: Taylor Oil &amp; Gas Co. (a Texas corporation) v. , affirming *669 ; certiorari denied, ; ; , affirming ; , affirming ; In Taylor Oil &amp; Gas Co., the court, after quoting article 547 of Regulations 45, above referred to, said: This is a reasonable regulation, and should be given effect [citing authorities].  It may be doubted that the contract of sale was merely executory.  * * * But, if it was executory, it was still the contract of the company to be executed before there could be any liquidation of its affairs.  Conceding for the purpose of argument that the legal title to the property vested in the trustees by the dissolution, no part of the title passed to the stockholders thereby.  The real owner was still the company until such time as its affairs were liquidated, the debts paid, and the residue distributed to the stockholders.  The profit on the transaction was earned*670  by the corporation, and the assessment of the taxes based thereon was valid.  Petitioners strongly urge that the present proceedings are distinguishable from the cited cases, for the reason that in the latter contracts had been executed, or negotiations entered into, for the sale of the assets prior to dissolution of the corporations.  Under the facts here, we think the distinction suggested is without importance.  The matters mentioned are of materiality only in determining who was the owner of the property at the time of the sale, and who derived the profit resulting therefrom.  In the cases at bar, the corporations owned the property when it was sold and transferred, and hence the gain realized was earned by them.  In support of their contentions petitioners cite, among others, our decisions in , and . In the Jemison case the corporation was *825  dissolved and its assets distributed in kind among the stockholders, who thereafter make the sale.  In Fruit Belt Telephone Co. th e corporation sold, and by formal deed conveyed, its assets to its stockholders for*671  a cash consideration.  There was no question of mala fides.The property was thereafter sold by the stockholders.  In both cases, the stockholders had, in good faith and by lawful transactions, become the legal and equitable owners of the properties of the corporations prior to the sales in controversy.  Here no such procedure was followed.  We have carefully examined the other decisions cited by petitioners, and find them also not in point.  On the first issue, respondent's action is approved.  The second issue is whether assessment and collection of the liabilities of petitioners as transferees of the taxpayer corporations are barred by limitations.  The corporations were dissolved on July 30, 1927, and on October 15, 1927, income tax returns were filed on behalf of the corporations as final returns for the taxable period May 1 to July 30, 1927, and the taxes shown thereon were paid.  No returns were filed by or in behalf of the corporations for the fiscal year beginning May 1, 1927, and ended April 30, 1928.  Prior to May 1, 1927, the corporations made their tax returns on the basis of a fiscal year ended April 30.  No waiver of the statutes of limitations has been executed*672  either by the corporations or by petitioners herein.  On April 12, 1930, respondent made a jeopardy assessment against each of the corporations, covering the period May 1 to July 30, 1927, on the basis of including in gross income for such period profit derived from the sale of the corporate assets subsequent to July 30, 1927.  On April 28, 1930, respondent mailed notices of deficiency to the corporations in the respective amounts assessed on April 12, 1930.  Notices determining transferee liability were mailed to petitioners on September 6, 1935.  Petitioners contend that the returns filed by the corporations on October 15, 1927, started the running of the statute of limitations in their favor, but that in any event the jeopardy assessments made by respondent on April 12, 1930, put such statute into operation, and therefore the period of limitations on assessment against the corporations expired not later than April 12, 1933.  Notices of transferee liability not having been mailed within one year thereafter, petitioners say they came too late.  Upon receipt of the notices of jeopardy assessment above mentioned, the corporations seasonably filed petitions with the Board, and*673  in an opinion reported at , we held that the returns filed by the corporations "for the period May 1 to July 30, 1927, were not such returns as are required by the revenue act, and that the deficiencies determined on the basis of such returns and for that period by the respondent were not authorized by law." *826  Respondent argues that petitioners herein, being stockholders of the corporations, were privy to the former proceedings, and that our decision there as to the sufficiency of the returns of October 15, 1927, and the jeopardy assessments of April 12, 1930, is conclusive of those questions here.  On this point, see , and authorities cited.  Whether or not such rule is applicable here, we need not consider, for the reason that the facts before us in the instant proceedings impel us to the same conclusions.  Section 212 of the Revenue Act of 1926 provides that the net income of individuals shall be computed on the basis of the taxpayer's annual accounting period, fiscal or calendar year, as the case may be, and section 232 provides that the net income of corporations shall be computed*674  on the same basis.  Section 41 of the Revenue Act of 1928 is similar.  Article 651 of respondent's Regulations 69, under the Revenue Act of 1926, provides that returns of income must be made on or before the fifteenth day of the third month following the close of the fiscal or calendar year, but adds that: A corporation going into liquidation during any taxable year may upon the completion of such liquidation prepare a return covering its income for the fractional part of the year during which it was engaged in business and may immediately file such return with the collector.  Substantially the same provisions, with additional matter not material here, are contained in article 401 of Regulations 74, under the 1928 Act.  We think it is plain that the returns filed by the corporations on October 15, 1927, for the period May 1 to July 30, 1927, did not cover their fiscal year ended April 30, 1928, nor embrace the period from the beginning of the fiscal year to the completion of liquidation.  These returns, therefore, were not the returns required by law, meeting neither the requirements of the statute nor of the regulations.  It follows they were insufficient to start the running*675  of the statute of limitations.  The jeopardy assessments were invalid for substantially the same reasons.  Respondent is required to compute tax liability upon the basis of the taxpayer's proper taxable year.  Yet he determined deficiencies and made jeopardy assessments for the same period covered by the corporations' returns, namely, May 1 to July 30, 1927, which was not the taxpayer's taxable year, or a proper taxable period, and further computed the deficiencies on the basis of income derived subsequent to the close of such period.  Even if the period for which the assessments were made had been the proper taxable period, respondent could not lawfully assess a tax for such period based upon income derived thereafter.  Since neither the deficiencies so determined nor the jeopardy assessments based thereon were authorized by law, the assessments were null and void, and without legal effect.  *827  In support of their contentions on the issue of limitations, petitioners cite ; *676 ; and . Those decisions are not controlling here for the reason that they dealt with assessments the validity of which was not questioned.  Furthermore in the Teague and American Locker Co. cases, the taxpayers filed proper returns, which started the applicable periods of limitation running.  We held in the latter case, where respondent made a valid jeopardy assessment after having mailed a notice of deficiency, the effect of such assessment was to terminate suspension of the running of limitations.  And in the Teague case, where a valid jeopardy assessment was made prior to notice, we held that such notice did not serve to suspend the running of the statute.  Section 276(a) of the Revenue Act of 1928 provides that in the case of a failure to file a return the tax may be assessed at any time, and subdivision (e) provides that where assessment has been made within the applicable period of limitation collection of the tax may be made within six years thereafter.  The same provisions are contained in subdivisions (a) and (d) of section 278 of the 1926 Act. *677 Where no return is filed and there is no limitation on assessment, even a lawful assessment, which is within time whenever made, has only the effect thereafter of starting the six-year period of limitation on collection.  Obviously, the making of a jeoperdy assessment has no relation to the period of limitation, if any, on assessment.  If there is an applicable period, the making of the jeopardy assessment can neither shorten nor lengthen such period.  Here, since the returns filed by the taxpayer corporations were not the returns required by law, there was no period of limitation on assessment against them, and the assessments of April 12, 1930, if lawfully made, have no effect other than to put into operation the sixyear period of limitation on collection, which period expired on April 12, 1936.  But respondent mailed notices to petitioners within that period on September 6, 1935.  Collection, therefore, is not barred.  Section 311(b)(1) of the Revenue Act of 1928 provides a period of limitation for assessment of liability, in the case of an initial transferee, of one year after the*678  expiration of the period of limitation for assessment against the taxpayer.  There being no limitation on assessment against the taxpayer corporations in these proceedings, it can not be said that respondent did not mail notices of transferee liability to petitioners "within one year after the expiration of the period of limitation for assessment against the taxpayer." The one-year period for assessment against the transferee is not measured from the date on which assessment may have been actually made against the taxpayer, whether such assessment was valid or *828  otherwise; it is to be computed from the date of the expiration of the period of limitation on assessment against the taxpayer.  In any event, therefore, the period of limitation on the assessment of the liabilities of petitioners as transferees had not expired when respondent mailed notices to them on September 6, 1935.  After the mailing of such notice the running of the statute is suspended until the Board's decision herein shall have become final, and for 60 days thereafter.  Sec. 311(d), Revenue Act of 1928.  On May 17, 1934, respondent mailed deficiency notices to the corporations for the fiscal year ended*679  April 30, 1928, which was the proper taxable period.  No appeals to the Board having been taken, the amounts were assessed on September 7, 1934.  Petitioners contend that such action of respondent was without legal effect for the reason that the corporations had completely terminated their existence prior to May 17, 1934, when the notices were mailed.  However that may be, assessment against a taxpayer is not a prerequisite to assessment and collection of transferee liability, and the period of limitation for assessment against the corporations involved herein remained the same as if their existence had not been terminated.  Sec. 311(c) of the Revenue Act of 1928.  Such fact, therefore, does not change the conclusions reached above.  We hold that assessment and collection of the liabilities of petitioners as transferees, in the amounts determined by the respondent, are not barred by limitation.  Reviewed by the Board.  Judgment will be entered for the respondent.Footnotes1. Proceedings of the following petitioners are consolidated herewith: Malcolm H. Reed; Edgar H. Perry; Estate of D. T. Iglehart; Estate of E. J. Byrne; and Estate of C. J. Von Rosenbeg. ↩